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Counsel for Plaintiff

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

    KARLA KELLER,                                  Case No: 1:21-cv-01542-NGG-CLP

          Plaintiff,
                                                   NOTICE OF VOLUNTARY DISMISSAL
          v.                                       PURSUANT TO FED. R. CIV. P.
                                                   41(a)(1)(A)(i)
   FLIR SYSTEMS, INC., EARL R. LEWIS,
   JAMES J. CANNON, JOHN D. CARTER,
   WILLIAM W. CROUCH, CATHERINE A.
   HALLIGAN, ANGUS L. MACDONALD,
   MICHAEL T. SMITH, CATHY
   STAUFFER, ROBERT S. TYRER, JOHN
   W. WOOD, JR., and STEVEN E. WYNNE,

          Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Karla Keller hereby voluntarily dismisses the above-captioned action.

Defendants have not served an answer or a motion for summary judgment.



Dated: April 19, 2021                               Respectfully submitted,

                                                    HALPER SADEH LLP
Application Granted.
SO-ORDERED.                                         By: /s/ Daniel Sadeh
/s/ Nicholas G. Garaufis, U.S.D.J.                  Daniel Sadeh, Esq.
Hon. Nicholas G. Garaufis                           667 Madison Avenue, 5th Floor
Date: April 26, 2021                                New York, NY 10065
                                                    Telephone: (212) 763-0060

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                                CERTIFICATE OF SERVICE

        I, Daniel Sadeh, hereby certify that on April 19, 2021, a true and correct copy of the
annexed NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
41(a)(1)(A)(i) was served in accordance with the Federal Rules of Civil Procedure with the Clerk
of the Court using the CM/ECF system, which will send a notification of such filing to all parties
with an email address of record who have appeared and consented to electronic service in this
action.


Dated: April 19, 2021                               /s/ Daniel Sadeh
                                                    Daniel Sadeh




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